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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK

JACQUELINE BEEBE, individually and on
behalf of all others similarly situated,
                                                     Case No. 6:17-cv-06075-EAW-MWP
                              Plaintiff,

v.                                                   Class / Collective Action

V&J NATIONAL ENTERPRISES, LLC,
V&J UNITED ENTERPRISES, LLC, V&J
EMPLOYMENT SERVICES, INC., and
V&J HOLDING COMPANIES, INC.,

                              Defendants.

              NOTICE OF PLAINTIFF’S UNOPPOSED MOTION FOR
           PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT



       PLEASE TAKE NOTICE that, upon the Declaration of Jeremiah Frei-Pearson, sworn

on the 27th day of November, 2019, and the exhibits annexed thereto, upon all the prior

pleadings and proceedings had herein, and the accompanying Memorandum of Law, Plaintiff

Jacqueline Beebe, individually and on behalf of all others similarly situated, and by and through

her undersigned attorneys, Finkelstein, Blankinship, Frei-Pearson & Garber, LLP (“FBFG”) and

with the consent of Defendants V&J National Enterprises, LLC, V&J United Enterprises, LLC,

V&J Employment Services, Inc., and V&J Holding Companies, Inc., will bring a motion before

this Court, on a date and time which will be provided by the Court later, respectfully moving this

Court to order: the preliminary approval of class action settlement attached as Exhibit A to the

Declaration of Jeremiah Frei-Pearson; the approval and issuance of the proposed notice,

reminder notice, and claim form to all putative class members; Plaintiff Beebe’s appointment as

Class Representative; and FBFG’s appointment as Class Counsel.
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Dated: November 27, 2019                Respectfully submitted,


                                  By:
                                        Jeremiah Frei-Pearson
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                                        FREI-PEARSON & GARBER, LLP
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                                        Attorneys for Plaintiff
                                        and the Putative Class




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